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 1
                                  IN THE UNITED STATES DISTRICT COURT
 2                                  FOR THE DISTRICT OF PUERTO RICO
 3
          UNITED STATES OF AMERICA,
 4
 5        Plaintiff,

 6        v.                                                         CRIMINAL: 15-375 (GAG)

 7
          [1] BALKARRAN RAMKISSOON,
 8
          Defendant.
 9
10                                REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.         Procedural Background

13              On May 27, 2015, a grand jury returned an indictment against Balkarran Ramkissoon

14   (hereinafter referred to as “defendant”) and other persons. ECF No. 33. Defendant has agreed to plead

15   guilty to count one of the indictment. Count one charges that beginning on an unknown date until on

16   or about May 13, 2015, on the high seas, elsewhere, and within the jurisdiction of this court, the

17   defendant and others knowingly and intentionally combined, conspired, confederated, and agreed with

18   other persons to commit an offense defined in Title 46, United States Code, Section 70503, that is: to

19   possess with the intent to distribute one thousand (1,000) kilograms or more of a mixture or substance

20   containing a detectable amount of marijuana, a Schedule I Narcotic Drug Controlled Substance, on

21   board a vessel subject to the jurisdiction of the United States, as defined in Title 46, United States Code,

22   Section 70502(c)(1)(A); that is a vessel without nationality; all in violation of Title 46, United States

23   Code, Section 70503(a)(1), 70504(b)(1), and 70506(a) and (b). This count also alleges that the District

24   of Puerto Rico was the district at which the defendant first entered the United States after the

25   commission of the aforesaid offense.

26   II.        Consent to Proceed Before a Magistrate Judge

27              On September 1, 2016, while assisted by counsel the defendant, by consent, appeared before the

28   undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the
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 1   indictment. In open court the defendant was questioned as to the purpose of the hearing being held and
 2   was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be
 3   conducted under oath and that it was expected that his answers would be truthful; (c) the potential
 4   consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of plea
 5   proceedings presided by a district judge instead of a magistrate judge. The defendant was also explained
 6   the differences between the appointment and functions of the two. The defendant consented to proceed
 7   before the undersigned magistrate judge.
 8   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
 9            A.      Rule 11(c)(1) Requirements
10                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
11            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
12            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
13            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
14            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)). United
15            States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).

16            B. Admonishment of Constitutional Rights

17            To assure defendant’s understanding and awareness of his rights, defendant was advised of his

18   right:

19            1.   To remain silent at trial and be presumed innocent, since it is the government who has the

20   burden of proving his guilt beyond a reasonable doubt.

21            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation

22   to his decision not to testify.

23            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and

24   cross examine the government witnesses, present evidence on his behalf, and challenge the

25   government’s evidence.

26            4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be

27 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
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                5.   To use the subpoena power of the court to compel the attendance of witnesses.
 1              Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
 2 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
 3 that defendant is aware of his constitutional rights.
 4              C. Consequences of Pleading Guilty
 5              Upon advising defendant of his constitutional rights, he was further advised of the consequences
 6 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his guilty
 7 plea accepted by the court, he will be giving up the above rights and will be convicted solely on his
 8 statement that he is guilty.
 9              Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
10 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
11 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
12 be required to serve an additional term of imprisonment. He was also explained that parole has been
13 abolished.
14              In response to further questioning, defendant was explained and he understood that if convicted
15 on count one he will face the following penalties: a term of imprisonment of not less than ten (10) years,
16 but not more than life, a fine not to exceed $10,000,000, and a term of supervised release of at least five
17 (5) years but not more than life.
18              The defendant was also explained what the supervised release term means. Defendant was also
19 made aware that the court must impose a mandatory penalty assessment of one hundred dollars ($100)
20 per offense pursuant Title 18, United States Code, Section 3013(a).
21              The defendant was advised that the ultimate sentence was a matter solely for the court to decide
22 in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
23 him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
24              D. Plea Agreement1
25              The parties have entered into a written plea agreement that, upon being signed by the
26 government, defense attorney and defendant, was filed and made part of the record. Defendant was
27 clearly warned and recognized having understood that:
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            1
                      “Plea agreement” refers to the agreement and its supplement.
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            1.   The plea agreement is not binding upon the sentencing court.
 1          2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
 2 for the government which is presented as a recommendation to the court in regards to the applicable
 3 sentencing adjustments and guidelines, which are advisory.
 4          3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
 5 guideline computation, that can be either accepted or rejected by the sentencing court.
 6          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
 7 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
 8 maximum possible penalty prescribed by statute.
 9          Defendant acknowledged having understood these explanations and all the terms and conditions
10 of the plea agreement.
11          E. Government's Evidence (Basis in Fact)
12          The government presented a proffer of its evidence consistent with the version of facts of the plea
13 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
14 and evidence to establish all the elements of the offense charged.
15          F. Voluntariness
16          The defendant accepted that no threats had been made to induce him to plead guilty and that he
17 did not feel pressured to plead guilty.
18          G. Waiver of Appeal
19          The defendant was explained, and he understood, that if the court accepts the plea agreement and
20 sentences him according to its terms and conditions, he will be surrendering his right to appeal the
21 sentence and judgment in this case.
22          H. Administrative Consequences
23          The defendant acknowledged that his decision to enter a guilty plea may have negative effects
24 upon his immigration status in the United States.
25   IV.    Conclusion
26          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
27 Criminal Procedure, has entered a plea of guilty as to count one of the indictment. After cautioning and
28 examining the defendant under oath and in open court, concerning each of the subject matters mentioned
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     in Rule 11, as described in the preceding sections, I find that defendant is competent to enter this guilty
 1 plea, is aware of the nature of the offense charged and the maximum statutory penalties that the same
 2 carries, understands that the charge is supported by the government’s evidence, has admitted to every
 3 element of the offense charged, and has done so in an intelligent and voluntary manner with full
 4 knowledge of the consequences of his guilty plea. Therefore, I recommend that the court accept the
 5 guilty plea of the defendant and that the defendant be adjudged guilty as to count one of the indictment.
 6          Any objections to this report and recommendation must be specific and must be filed with the
 7 Clerk of Court within fourteen (14) days of its receipt. Failure to timely file specific objections to the
 8 report and recommendation is a waiver of the right to review by the district court. United States v.
 9 Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
10          SO RECOMMENDED.
11          At San Juan, Puerto Rico, this 11th day of October, 2016.
12                                                  s/Marcos E. López
                                                    U.S. MAGISTRATE JUDGE
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